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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re          Darda Bieberle                                                                                Case No.    6:14-bk-03020
                                                                                                          ,
                                                                                      Debtor
                                                                                                               Chapter                      13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF             ASSETS               LIABILITIES                OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                  1,032,452.00


B - Personal Property                                          Yes           4                    179,271.65


C - Property Claimed as Exempt                                 Yes           1


D - Creditors Holding Secured Claims                           Yes           6                                       1,546,789.42


E - Creditors Holding Unsecured                                Yes           1                                                 0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           9                                            10,194.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               Yes           2                                                                     13,741.25
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                     28,137.19
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   28


                                                                       Total Assets             1,211,723.65


                                                                                           Total Liabilities         1,556,983.42




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
  In re           Darda Bieberle                                                                                     Case No.   6:14-bk-03020
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                     13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                  0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                                0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                   13,741.25

              Average Expenses (from Schedule J, Line 22)                                                 28,137.19

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        9,684.78


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                     102,285.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                  10,194.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           112,479.00




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B6A (Official Form 6A) (12/07)


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  In re         Darda Bieberle                                                                              Case No.     6:14-bk-03020
                                                                                                ,
                                                                                 Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                       Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                   Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

Homestead                                                                                           J                   222,467.00                318,170.00
2606 Mandan Traill
Winter Park, FL 32789

Investment Property                                                                                 J                    81,491.00                 75,896.16
2618 Lafayette Ave
Winter Park Fl 32789

Investment Property                                                                                 J                    65,854.00                 55,104.00
251/253 Concord Ave
Casselberry Fl 32707

Investment Property                                                                                 -                   120,208.00                 55,727.00
3180 Pittman Road
Apopka FL 32733

Investment Property                                                                                 J                   122,894.00                 62,978.00
2463/2465 Fielding Ct Orlando Fl 32806

Investment Property                                                                                 J                   120,625.00                 50,835.00
Location: 2472/74 Fielding Ct
Orlando Fl 32806

Investment Property                                                                                 J                   121,759.00                 47,886.00
2440/2442 Fielding Ct.
Orlando Fl 32806

2666 Fitzhugh Road                                                                                  -                   177,154.00                158,451.50
Winter Park, FL 32792

Beneficiary Interest
Henrietta J. Bieberle,
Debtor's deceaced mother




                                                                                                 Sub-Total >          1,032,452.00         (Total of this page)

                                                                                                        Total >       1,032,452.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Darda Bieberle                                                                                       Case No.       6:14-bk-03020
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Fairwinds Federal Credit Union                                    -                         5,269.00
      accounts, certificates of deposit, or                   Checking account ending in 6910
      shares in banks, savings and loan,
      thrift, building and loan, and                          Fairwinds Federal Credit Union                                    -                               7.08
      homestead associations, or credit                       Checking account ending in 7920
      unions, brokerage houses, or
      cooperatives.                                           Fairwinds Federal Credi Union                                     -                             19.36
                                                              Checking account ending in 7610

                                                              Fairwinds Federal Credit Union                                    -                               0.11
                                                              Savings account ending in 1000

                                                              Fairwinds Federal Credit Union                                    -                            156.12
                                                              Savings account ending in 6000

                                                              Fairwinds Federal Credit Union                                    -                             65.84
                                                              Savings account ending in 2000

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        stove, refrigerator, washer, dryer, microwave, pots,              -                         1,585.00
      including audio, video, and                             pans, dishes, utensils, living room set, dining room
      computer equipment.                                     table and chairs, vcr, dvd, tv, bed, dresser,
                                                              computer, desk, printer, yard tools, cell phone

5.    Books, pictures and other art                           Coin collection                                                   -                       Unknown
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothes:                                                          -                            150.00
                                                              Location: 2606 Mandan Trl Winter Park, FL 32789

7.    Furs and jewelry.                                       Misc jewelry                                                      -                             50.00




                                                                                                                                Sub-Total >             7,302.51
                                                                                                                    (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Darda Bieberle                                                                                     Case No.       6:14-bk-03020
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                        State Farm Life Insurance                                       -                               0.00
      Name insurance company of each                          Term Policy
      policy and itemize surrender or                         no cash surrender value
      refund value of each.
                                                              Primerica                                                       -                               0.00
                                                              Term Life Insurance
                                                              no cash surrender value

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        401K                                                            -                       70,655.02
    other pension or profit sharing                           Dreyfus Lion Account
    plans. Give particulars.

13. Stock and interests in incorporated                       TD Ameritrade                                                   -                       98,489.12
    and unincorporated businesses.                            Acct # ending in 0503
    Itemize.

14. Interests in partnerships or joint                        Bieberle Enterprises, Inc                                       -                       Unknown
    ventures. Itemize.                                        Fairwinds Federal Credit Union
                                                              Business Checking account ending in 8950
                                                              Balance $
                                                              20 Rental Properties all located in Orange County,
                                                              FL

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.




                                                                                                                              Sub-Total >         169,144.14
                                                                                                                  (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Darda Bieberle                                                                                    Case No.       6:14-bk-03020
                                                                                                      ,
                                                                                     Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2002 Ford Taurus LX 4 Door                                     -                         1,350.00
    other vehicles and accessories.                           VIN 1GNDV03L25D286157
                                                              140,000 miles

                                                              2005 Chevrolet Truck Uplander Extended Wagon                   -                         1,475.00
                                                              VIN 1GNDV03L25D286157
                                                              174,000 miles

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X



                                                                                                                             Sub-Total >             2,825.00
                                                                                                                 (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Darda Bieberle                                                                                 Case No.      6:14-bk-03020
                                                                                                   ,
                                                                                  Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)

                                                          N                                                           Husband,        Current Value of
                Type of Property                          O            Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                            Joint, or   without Deducting any
                                                          E                                                          Community Secured Claim or Exemption

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                          Sub-Total >                  0.00
                                                                                                              (Total of this page)
                                                                                                                               Total >       179,271.65
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                      (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Darda Bieberle                                                                                        Case No.         6:14-bk-03020
                                                                                                           ,
                                                                                       Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                           Value of                 Current Value of
                   Description of Property                                       Each Exemption                               Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Homestead                                                               Fla. Const. art. X, § 4(a)(1); Fla. Stat.                          0.00                   222,467.00
2606 Mandan Traill                                                      Ann. §§ 222.01 & 222.02
Winter Park, FL 32789

Household Goods and Furnishings
stove, refrigerator, washer, dryer, microwave,                          Fla. Const. art. X, § 4(a)(2)                                1,000.00                         1,585.00
pots, pans, dishes, utensils, living room set,
dining room table and chairs, vcr, dvd, tv, bed,
dresser, computer, desk, printer, yard tools, cell
phone

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401K                                                Fla. Stat. Ann. § 222.21(2)                                                    70,655.02                        70,655.02
Dreyfus Lion Account

Automobiles, Trucks, Trailers, and Other Vehicles
2005 Chevrolet Truck Uplander Extended                                  Fla. Stat. Ann. § 222.25(1)                                  1,000.00                         1,475.00
Wagon
VIN 1GNDV03L25D286157
174,000 miles




                                                                                                           Total:                  72,655.02                       296,182.02
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxx0915                                               Mortgage                                                    E
                                                                                                                                 D

8742 Lucent Blvd                                                     Investment Property
Suite 300                                                            2618 Lafayette Ave
Littleton, CO 80129                                                  Winter Park Fl 32789
                                                                 -

                                                                        Value $                             81,491.00                         75,896.16                     0.00
Account No. xxxxxx7420                                               Opened 3/01/99 Last Active 11/02/11

Carrington Mortgage Se                                               First Mortgage
1610 E Saint Andrew Place
                                                                Homestead
Suite B150
                                                            X - 2606 Mandan Traill
Santa Ana, CA 92705                                             Winter Park, FL 32789
                                                                        Value $                            222,467.00                        174,104.00                     0.00
Account No. xxxxxxxxx9329                                            Opened 5/01/00 Last Active 2/14/14

Chase                                                                Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 1820 Aloma Avenue
                                                                   Winter Park, FL
                                                                        Value $                             Unknown                           86,470.00             Unknown
Account No. xxxxxxxxx1256                                            Opened 4/01/00 Last Active 6/20/12

Chase                                                                First Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 129 Cornwall Road
                                                                   Winter Park, FL
                                                                        Value $                            127,276.00                         85,204.00                     0.00
                                                                                                                         Subtotal
 5
_____ continuation sheets attached                                                                                                           421,674.16                     0.00
                                                                                                                (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                           PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                             T   J                                                          N    U   T                           ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxxx9487                                            Opened 4/01/99 Last Active 4/05/12                          E
                                                                                                                                 D

Chase                                                                First Mortgage
Po Box 24696
                                                                   Buisiness debt
Columbus, OH 43224
                                                                 - 1773 Walnut Avenue
                                                                   Winter Park, FL
                                                                        Value $                            270,541.00                         83,223.00                     0.00
Account No. xxxxxxxxx2017                                            Opened 6/01/99 Last Active 2/14/14

Chase                                                                First Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 2833 Bower Road
                                                                   Winter Park, FL
                                                                        Value $                            147,885.00                         76,046.00                     0.00
Account No. xxxxxxxxx2216                                            Opened 9/01/99 Last Active 5/31/12

Chase                                                                First Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 2940 Scarlet Road
                                                                   Winter Park, FL
                                                                        Value $                            119,066.00                         68,537.00                     0.00
Account No. xxxxxxxxx6986                                            Opened 2/01/99 Last Active 2/01/13

Chase                                                                Mortgage
Po Box 24696
Columbus, OH 43224                                              Investment Property
                                                            X - 2463/2465 Fielding Ct Orlando Fl 32806

                                                                        Value $                            122,894.00                         62,978.00                     0.00
Account No. xxxxxxxxx1264                                            Opened 5/01/00 Last Active 2/14/14

Chase                                                                Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 2766 Cady Avenue
                                                                   Winter Park, FL
                                                                        Value $                            126,043.00                         62,169.00                     0.00
       1
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             352,953.00                     0.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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                                   Case 6:14-bk-03020-CCJ                              Doc 15         Filed 04/01/14             Page 11 of 33
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                           PORTION, IF
            INCLUDING ZIP CODE,                              B
                                                                               DESCRIPTION AND VALUE
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                                                             T   J                                                          N    U   T                           ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxxx7733                                            Opened 9/01/90 Last Active 6/28/13                          E
                                                                                                                                 D

Chase                                                                Mortgage
Po Box 24696
                                                                Investment Property
Columbus, OH 43224
                                                            X - Location: 2472/74 Fielding Ct
                                                                Orlando Fl 32806
                                                                        Value $                            120,625.00                         50,835.00                     0.00
Account No. xxxxxxxxx9059                                            Opened 12/01/99 Last Active 2/14/14

Chase                                                                Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 4750 Southern Willow Lane
                                                                   Orlando, FL
                                                                        Value $                             21,757.00                         19,841.00                     0.00
Account No. xxxxxxxxx6006                                            Opened 12/01/99 Last Active 2/14/14

Chase                                                                Mortgage
Po Box 24696
                                                                   Business debt
Columbus, OH 43224
                                                                 - 4754 Southern Willow Lane
                                                                   Orlando, FL
                                                                        Value $                             21,757.00                         15,563.00                     0.00
Account No. xxxxxxxxx6293                                            Opened 11/01/98 Last Active 2/14/14

Chase Manhattan Mortgage                                             Mortgage
Attn: Bankruptcy Dept
                                                                   Business debt
3415 Vision Dr
                                                                 - 1725 Aloma Avenue
Columbus, OH 43219                                                 Winter Park, FL
                                                                        Value $                            119,840.00                         82,258.00                     0.00
Account No. xxxxxxxxx4972                                            Opened 3/01/98 Last Active 1/28/14

Chase Manhattan Mortgage                                             Mortgage
Attn: Bankruptcy Dept
                                                                   Business debt
3415 Vision Dr
                                                                 - 2001 Commerce Blvd
Columbus, OH 43219                                                 Orlando, FL
                                                                        Value $                             69,592.00                         71,553.00               1,961.00
       2
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             240,050.00               1,961.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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                                   Case 6:14-bk-03020-CCJ                              Doc 15         Filed 04/01/14             Page 12 of 33
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
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            INCLUDING ZIP CODE,                              B
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                                                             T   J                                                          N    U   T                           ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxx8467                                                Opened 2/27/01 Last Active 1/11/14                          E
                                                                                                                                 D

Citimortgage Inc                                                     Mortgage
Po Box 6243
                                                                   Business debt
Sioux Falls, SD 57117
                                                                 - 3800 Sea Island Court
                                                                   Orlando, FL
                                                                        Value $                            130,348.00                        117,099.26                     0.00
Account No. xxxxx0791                                                Opened 7/10/00 Last Active 2/11/14

Fifth Third Bank                                                     HELOC
Bankruptcy Department
                                                                   Homestead
1830 East Paris Ave.
                                                                 - 2606 Mandan Traill
Grand Rapids, MI 49546                                             Winter Park, FL 32789
                                                                        Value $                            222,467.00                              0.00                     0.00
Account No. xxxx8853                                                 Opened 5/01/90 Last Active 10/24/13

Midland Mortgage Company                                             Mortgage
Attention: Bankruptcy
                                                                Investment Property
Po Box 26648
                                                            X - 2440/2442 Fielding Ct.
Oklahoma City, OK 73216                                         Orlando Fl 32806
                                                                        Value $                            121,759.00                         47,886.00                     0.00
Account No. xxxxx3875                                                Opened 12/01/99 Last Active 1/13/14

Nationstar Mortgage LLC                                              Mortgage
Attn: Bankruptcy
                                                                   Business debt
350 Highland Dr
                                                                 - 4730 Southern Willow Lane
Lewisville, TX 75067                                               Orlando, FL
                                                                        Value $                             21,757.00                         15,590.00                     0.00
Account No. xxxxx1540                                                Opened 12/22/99 Last Active 1/15/14

Ocwen Loan Servicing L                                               Mortgage
PO Box 24738
                                                                   Business debt
West Palm Beach, FL 33416
                                                                 - 4746 Southern Willow Lane
                                                                   Orlando, FL
                                                                        Value $                             21,757.00                         26,378.00               4,621.00
       3
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             206,953.26               4,621.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                           PORTION, IF
            INCLUDING ZIP CODE,                              B
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                                                             T   J                                                          N    U   T                           ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxxx6642                                            Opened 1/18/02 Last Active 2/10/14                          E
                                                                                                                                 D

Select Portfolio Servicing                                           Mortgage
Po Box 65250
                                                                Investment Property
Salt Lake City, UT 84165
                                                            X - 251/253 Concord Ave
                                                                Casselberry Fl 32707
                                                                        Value $                             65,854.00                         55,104.00                     0.00
Account No. xxxxxxxxxxxxx0001                                        Opened 11/01/00 Last Active 1/22/14

Wells Fargo Bank Nv Na                                               2nd HELOC
Bankruptcy MAC# P6103-05K
                                                                   Homestead
Po Box 3908
                                                                 - 2606 Mandan Traill
Portland, OR 97208                                                 Winter Park, FL 32789
                                                                        Value $                            222,467.00                        144,066.00             95,703.00
Account No. xxxxxxxxxxxxx0001                                        Opened 8/01/08 Last Active 1/22/14

Wells Fargo Bank Nv Na                                               Mortgage
Bankruptcy MAC# P6103-05K
                                                                   Investment Property
Po Box 3908
                                                                 - 3180 Pittman Road
Portland, OR 97208                                                 Apopka FL 32733
                                                                        Value $                            120,208.00                         55,727.00                     0.00
Account No. xxxxxxxxxxxxx0001                                        Opened 2/01/00 Last Active 1/10/14

Wells Fargo Bank Nv Na                                               HELOC
Bankruptcy MAC# P6103-05K
                                                                   Business debt
Po Box 3908
                                                                 - 1773 Walnut Avenue
Portland, OR 97208                                                 Winter Park, FL
                                                                        Value $                            270,541.00                         21,727.00                     0.00
Account No. xxxxxxxxxxxxx0001                                        Opened 1/01/00 Last Active 1/10/14

Wells Fargo Bank Nv Na                                               HELOC
Bankruptcy MAC# P6103-05K
                                                                   Business debt
Po Box 3908
                                                                 - 2833 Bower Road
Portland, OR 97208                                                 Winter Park, FL
                                                                        Value $                            147,885.00                         17,753.00                     0.00
       4
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                             294,377.00             95,703.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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                                   Case 6:14-bk-03020-CCJ                              Doc 15         Filed 04/01/14             Page 14 of 33
 B6D (Official Form 6D) (12/07) - Cont.




   In re         Darda Bieberle                                                                                                 Case No.    6:14-bk-03020
                                                                                                                   ,
                                                                                                  Debtor


                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                      (Continuation Sheet)

                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                              O    N   I
                                                             D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT          UNSECURED
                                                                 W              NATURE OF LIEN, AND                                                           PORTION, IF
            INCLUDING ZIP CODE,                              B
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                                                             T   J                                                          N    U   T                           ANY
           AND ACCOUNT NUMBER                                O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                            R
                                                                                   SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxxxxxxx0001                                        Opened 7/01/00 Last Active 1/10/14                          E
                                                                                                                                 D

Wells Fargo Bank Nv Na                                               HELOC
Bankruptcy MAC# P6103-05K
                                                                   Business debt
Po Box 3908
                                                                 - 129 Cornwall Road
Portland, OR 97208                                                 Winter Park, FL
                                                                        Value $                            127,276.00                         17,707.00                     0.00
Account No. xxxxxxxxxxxxx0001                                        Opened 2/01/00 Last Active 1/10/14

Wells Fargo Bank Nv Na                                               HELOC
Bankruptcy MAC# P6103-05K
                                                                   Business debt
Po Box 3908
                                                                 - 2940 Scarlet Road
Portland, OR 97208                                                 Winter Park, FL
                                                                        Value $                            119,066.00                         13,075.00                     0.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
       5
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                              30,782.00                     0.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)
                                                                                                                          Total            1,546,789.42           102,285.00
                                                                                                (Report on Summary of Schedules)

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                                  Case 6:14-bk-03020-CCJ                             Doc 15            Filed 04/01/14                 Page 15 of 33
B6E (Official Form 6E) (4/13)


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  In re         Darda Bieberle                                                                                                     Case No.            6:14-bk-03020
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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                                   Case 6:14-bk-03020-CCJ                           Doc 15            Filed 04/01/14       Page 16 of 33
 B6F (Official Form 6F) (12/07)


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   In re         Darda Bieberle                                                                                          Case No.        6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxx6213                                                    Opened 8/01/87 Last Active 3/07/14                          T   T
                                                                                                                                                E
                                                                                Credit Card                                                     D

American Express
Po Box 3001                                                                 -
16 General Warren Blvd
Malvern, PA 19355
                                                                                                                                                                         153.00
Account No. xxxxxxxxxxxx6229                                                    Opened 8/01/87 Last Active 12/02/11
                                                                                Credit Card
Central Fl Educators F
1200 Weber St                                                               -
Orlando, FL 32803

                                                                                                                                                                             0.00
Account No. xxxxxxxxxxxx4036                                                    Opened 8/01/87 Last Active 3/07/07
                                                                                Credit Card
Central Fl Educators F
1200 Weber St                                                               -
Orlando, FL 32803

                                                                                                                                                                             0.00
Account No. xxxxxxxxxxxx2759                                                    Opened 10/01/88 Last Active 12/21/06
                                                                                Credit Card
Central Fl Educators F
Webber Street                                                               -
Orlando, FL 32802

                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 8
_____ continuation sheets attached                                                                                                                                       153.00
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                        B                                                             I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxxxxx1208                                                    Opened 7/01/95 Last Active 3/10/14                        E
                                                                                Credit Card                                               D

Chase
Po Box 15298                                                                -
Wilmington, DE 19850

                                                                                                                                                              2,658.00
Account No. xxxxxxxxxxxx0828                                                    Opened 10/01/88 Last Active 11/04/10
                                                                                Credit Card
Chase
Po Box 15298                                                                -
Wilmington, DE 19850

                                                                                                                                                                    0.00
Account No. xxxxxxxxxx0000                                                      Opened 2/01/00 Last Active 5/01/04
                                                                                Real Estate Mortgage
Chase
324 W Evans St                                                              -
Florence, SC 29501

                                                                                                                                                             Unknown
Account No. xxxxxxxxxx0000                                                      Opened 2/01/00 Last Active 5/01/04
                                                                                Real Estate Mortgage
Chase
324 W Evans St                                                              -
Florence, SC 29501

                                                                                                                                                             Unknown
Account No. xxxxxxxxxxxx5635                                                    Opened 8/01/87 Last Active 3/06/14
                                                                                Credit Card
Cntrl Fl Edu
Attn Bankruptcy                                                             -
1000 Primera Blvd
Lake Mary, FL 32746
                                                                                                                                                              3,864.00

           1
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              6,522.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                   Case 6:14-bk-03020-CCJ                           Doc 15            Filed 04/01/14    Page 18 of 33
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                   T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxxxxx4471                                                    Opened 10/01/88 Last Active 2/13/14                       E
                                                                                Credit Card                                               D

Cntrl Fl Edu
Attn Bankruptcy                                                             -
1000 Primera Blvd
Lake Mary, FL 32746
                                                                                                                                                              3,519.00
Account No. xxxxxxxxxxxx3412                                                    Opened 8/01/87 Last Active 11/03/13
                                                                                Credit Card
Cntrl Fl Edu
Attn Bankruptcy                                                             -
1000 Primera Blvd
Lake Mary, FL 32746
                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx1374                                                    Opened 10/01/88 Last Active 10/16/13
                                                                                Credit Card
Cntrl Fl Edu
Attn Bankruptcy                                                             -
1000 Primera Blvd
Lake Mary, FL 32746
                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx9500                                                    Opened 9/01/90 Last Active 3/09/14
                                                                                Credit Card
Discover Fin Svcs Llc
Po Box 15316                                                                -
Wilmington, DE 19850

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx2593                                                    Opened 2/01/98 Last Active 6/15/09
                                                                                Credit Card
Fairwinds Credit Union
3075 N Alafaya Trl                                                          -
Orlando, FL 32826

                                                                                                                                                                    0.00

           2
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              3,519.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxx2001                                                           Opened 5/01/99 Last Active 7/01/04                        E
                                                                                Automobile                                                D

Fairwinds Credit Union
Attention: Bankruptcy                                                       -
3075 N. Alafaya Trail
Orlando, FL 32826
                                                                                                                                                                    0.00
Account No. x5640                                                               Opened 7/01/00 Last Active 8/22/13
                                                                                Credit Line Secured
Fifth Third Bank
Fifth Third Bank Bankruptcy                                                 -
Department,
1830 East Paris Ave.
Grand Rapids, MI 49546                                                                                                                                              0.00
Account No. xxxxxxxxx0159                                                       Opened 12/22/99 Last Active 7/13/11
                                                                                Real Estate Mortgage
First Horizon Home Loa
First Tennesse Bank Attn: Bankruptcy                                        -
Po Box 1469
Knoxville, TN 37901
                                                                                                                                                                    0.00
Account No. xxxxxxxxx0142                                                       Opened 12/22/99 Last Active 7/13/11
                                                                                Real Estate Mortgage
First Horizon Home Loa
First Tennesse Bank Attn: Bankruptcy                                        -
Po Box 1469
Knoxville, TN 37901
                                                                                                                                                                    0.00
Account No. xxxxxxxxx2248                                                       Opened 12/22/99 Last Active 7/13/11
                                                                                Real Estate Mortgage
First Horizon Home Loa
First Tennesse Bank Attn: Bankruptcy                                        -
Po Box 1469
Knoxville, TN 37901
                                                                                                                                                                    0.00

           3
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxx2222                                                       Opened 12/22/99 Last Active 7/13/11                       E
                                                                                Real Estate Mortgage                                      D

First Horizon Home Loa
First Tennesse Bank Attn: Bankruptcy                                        -
Po Box 1469
Knoxville, TN 37901
                                                                                                                                                                    0.00
Account No. xxxx2010                                                            Opened 7/10/00 Last Active 1/14/05
                                                                                Note Loan
First National Bank Of
652 Del Prado Blvd N                                                        -
Cape Coral, FL 33909

                                                                                                                                                             Unknown
Account No. xxxxxxxxx0604                                                       Opened 10/01/00 Last Active 3/16/05
                                                                                Real Estate Mortgage
Green Point Savings
Po Box 130424                                                               -
Roseville, MN 55113

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx4287                                                    Opened 8/31/05 Last Active 4/04/07
                                                                                Charge Account
Hsbc/bstby
Po Box 30253                                                                -
Salt Lake City, UT 84130

                                                                                                                                                                    0.00
Account No. xxxxx4159                                                           Opened 12/01/99 Last Active 10/24/11
                                                                                Real Estate Mortgage
Nationstar Mortgage LLC
Attn: Bankruptcy                                                            -
350 Highland Dr
Lewisville, TX 75067
                                                                                                                                                             Unknown

           4
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxx1415                                                          Opened 4/17/03 Last Active 11/11/13                       E
                                                                                Real Estate Mortgage                                      D

Ocwen Loan Servicing L
3451 Hammond Avenue                                                         -
Waterloo, IA 50702

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx7793                                                    Opened 8/23/05 Last Active 6/06/07
                                                                                Charge Account
Sears/cbna
Po Box 6189                                                                 -
Sioux Falls, SD 57117

                                                                                                                                                                    0.00
Account No. xxxxxxxxx1718                                                       Opened 6/01/01 Last Active 1/09/07
                                                                                Real Estate Mortgage
Select Portfolio Servicing
Po Box 65250                                                                -
Salt Lake City, UT 84165

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxxx0010                                                    Opened 7/10/00 Last Active 8/25/04
                                                                                Credit Line Secured
Southern Com
250 N Orange Ave                                                            -
Orlando, FL 32801

                                                                                                                                                                    0.00
Account No. xxxxxxxxx1872                                                       Opened 3/31/99 Last Active 11/02/11
                                                                                Real Estate Mortgage
Suntrust Mortgage/cc 5
Attn:Bankruptcy Dept                                                        -
Po Box 85092 Mc Va-Wmrk-7952
Richmond, VA 23286
                                                                                                                                                                    0.00

           5
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxxxxx0669                                                    Opened 1/03/07 Last Active 12/21/11                       E
                                                                                Credit Card                                               D

The Home Depot/CBSD
Citibank USA/Attn: Centralized                                              -
Bankruptc
P.O. Box 20363
Kansas City, MO 64195                                                                                                                                               0.00
Account No. xxxxxxxxxxxx6175                                                    Opened 3/09/93 Last Active 10/20/11
                                                                                Credit Card
Unvl/citi
Attn.: Centralized Bankruptcy                                               -
Po Box 20507
Kansas City, MO 64195
                                                                                                                                                                    0.00
Account No. xxxxxx8127                                                          Opened 2/04/00 Last Active 5/24/10
                                                                                Real Estate Mortgage
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxx1009                                                          Opened 5/26/00 Last Active 1/05/10
                                                                                Secured
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxx4833                                                          Opened 1/25/00 Last Active 5/24/10
                                                                                Real Estate Mortgage
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00

           6
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                        Case No.    6:14-bk-03020
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                        C   U   D
                   CREDITOR'S NAME,                                     O                                                             O   N   I
                   MAILING ADDRESS                                      D   H                                                         N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                   T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                  (See instructions above.)                             R                                                             E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. xxxxxxxxxxx3533                                                     Opened 8/27/08 Last Active 4/20/10                        E
                                                                                Secured                                                   D

Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxx8004                                                          Opened 2/04/00 Last Active 5/24/10
                                                                                Real Estate Mortgage
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxxxxxxx0935                                                     Opened 4/01/05 Last Active 9/09/08
                                                                                Secured
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxx1152                                                          Opened 11/10/00 Last Active 5/24/10
                                                                                Real Estate Mortgage
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00
Account No. xxxxxx0178                                                          Opened 7/18/00 Last Active 5/24/10
                                                                                Real Estate Mortgage
Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                    0.00

           7
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                                    0.00
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




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                                   Case 6:14-bk-03020-CCJ                           Doc 15            Filed 04/01/14         Page 24 of 33
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Darda Bieberle                                                                                            Case No.     6:14-bk-03020
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxx2824                                                          Opened 2/01/00 Last Active 4/21/05                             E
                                                                                Real Estate Mortgage                                           D

Wachrl
Pob 3117                                                                    -
Winston Salem, NC 27102

                                                                                                                                                                         0.00
Account No. xxxxxxxxxxxxx0001                                                   Opened 5/01/00 Last Active 5/29/12
                                                                                Automobile
Wells Fargo
1 Home Campus X2303-01a                                                     -
Des Moines, IA 50326

                                                                                                                                                                         0.00
Account No.




Account No.




Account No.




           8
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                         0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                10,194.00


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B6H (Official Form 6H) (12/07)


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  In re          Darda Bieberle                                                                          Case No.      6:14-bk-03020
                                                                                               ,
                                                                             Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                  Deborah Bieberle                                                Midland Mortgage Company
                  3180 Pittman Road                                               Attention: Bankruptcy
                  Goldenrod, FL 32733                                             Po Box 26648
                                                                                  Oklahoma City, OK 73216

                  Deborah Bieberle                                                Chase
                  3180 Pittman Road                                               Po Box 24696
                  Goldenrod, FL 32733                                             Columbus, OH 43224

                  Deborah Bieberle                                                Chase
                  3180 Pittman Road                                               Po Box 24696
                  Goldenrod, FL 32733                                             Columbus, OH 43224

                  Wendy Bieberle                                                  Select Portfolio Servicing
                  1715 Pine Ridge Road                                            Po Box 65250
                  Sanford, FL 32773                                               Salt Lake City, UT 84165

                  Wendy Bieberle                                                  Carrington Mortgage Se
                  1715 Pine Ridge Road                                            1610 E Saint Andrew Place
                  Sanford, FL 32773                                               Suite B150
                                                                                  Santa Ana, CA 92705




       0
               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1              Darda Bieberle                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:        MIDDLE DISTRICT OF FLORIDA                                          MM / DD / YYYY

Case number       6:14-bk-03020                                                                                A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                     maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                   12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:    Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?             No

      Do not list Debtor 1 and           Yes. Fill out this information for     Dependent’s relationship to           Dependent’s        Does dependent
      Debtor 2.                       each dependent...........                 Debtor 1 or Debtor 2                  age                live with you?

      Do not state the dependents'                                                                                                           No
      names.                                                                    daughter                              21                     Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                 4. $                               1,781.68

      If not included in line 4:

      4a.   Real estate taxes                                                                            4a.   $                                 0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                 0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                               200.00
      4d.   Homeowner’s association or condominium dues                                                  4d.   $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                             1,554.98




Official Form B 6J                                                  Schedule J: Your Expenses                                                  page 1
                           Case 6:14-bk-03020-CCJ                               Doc 15             Filed 04/01/14                  Page 27 of 33


Debtor 1      Darda Bieberle                                                                                       Case number (if known)           6:14-bk-03020

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                          6a. $                                                          300.00
      6b.     Water, sewer, garbage collection                                                        6b. $                                                          100.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                          6c. $                                                          100.00
      6d.     Other. Specify: cable                                                                   6d. $                                                          150.00
7.    Food and housekeeping supplies                                                                   7. $                                                          400.00
8.    Childcare and children’s education costs                                                         8. $                                                            0.00
9.    Clothing, laundry, and dry cleaning                                                              9. $                                                           75.00
10.   Personal care products and services                                                             10. $                                                            0.00
11.   Medical and dental expenses                                                                     11. $                                                            0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                    12. $                                                          200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                          100.00
14.   Charitable contributions and religious donations                                                14. $                                                           25.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                            15a. $                                                          408.71
      15b. Health insurance                                                                          15b. $                                                            0.00
      15c. Vehicle insurance                                                                         15c. $                                                          200.00
      15d. Other insurance. Specify:                                                                 15d. $                                                            0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                        16. $                                                             0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                17a. $                                                             0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                             0.00
      17c. Other. Specify:                                                                           17c. $                                                             0.00
      17d. Other. Specify:                                                                           17d. $                                                             0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                          500.00
19.   Other payments you make to support others who do not live with you.                                 $                                                            0.00
      Specify:                                                                                        19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                               20a. $                                                     21,791.82
      20b. Real estate taxes                                                                         20b. $                                                          0.00
      20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                          0.00
      20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                          0.00
      20e. Homeowner’s association or condominium dues                                               20e. $                                                          0.00
21.   Other: Specify:        IRS                                                                      21. +$                                                       250.00
22. Your monthly expenses. Add lines 4 through 21.                                                                        22.      $                         28,137.19
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                 13,741.25
    23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                28,137.19

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                     23c. $                                -14,395.94

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
           No.
           Yes. Explain:




Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Darda Bieberle                                                                              Case No.   6:14-bk-03020
                                                                                  Debtor(s)             Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of        30
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date April 1, 2014                                                   Signature   /s/ Darda Bieberle
                                                                                  Darda Bieberle
                                                                                  Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Darda Bieberle                                                                                  Case No.       6:14-bk-03020
                                                                                Debtor(s)                   Chapter        13

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                     Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Darda Bieberle                                                                   X /s/ Darda Bieberle                           April 1, 2014
 Printed Name(s) of Debtor(s)                                                       Signature of Debtor                          Date

 Case No. (if known) 6:14-bk-03020                                                X
                                                                                      Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Darda Bieberle                                                                             Case No.   6:14-bk-03020
                                                                                 Debtor(s)             Chapter    13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 1, 2014                                                  /s/ Darda Bieberle
                                                                      Darda Bieberle
                                                                      Signature of Debtor




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                                                              United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Darda Bieberle                                                                                   Case No.      6:14-bk-03020
                                                                                Debtor(s)                     Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,219.00
             Prior to the filing of this statement I have received                                        $                  4,719.00
             Balance Due                                                                                  $                  2,500.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      April 1, 2014                                                      /s/ L. William Porter III
                                                                                L. William Porter III 0116882
                                                                                BOGIN, MUNNS & MUNNS, P.A.
                                                                                2601 Technology Drive
                                                                                Orlando, FL 32804
                                                                                407-578-1334 Fax: 407-5782181




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